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  6    Natural Care, Inc.
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  8
  9                         UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12    THRIVE NATURAL CARE, INC.,          Case No. 2:20-CV-9091-PA-AS
 13                    Plaintiff,          DECLARATION OF ALEX
                                           MCINTOSH IN SUPPORT OF
 14          v.                            PLAINTIFF’S OPPOSITION TO
                                           DEFENDANT’S MOTION FOR
 15    THRIVE CAUSEMETICS, INC.,           SUMMARY JUDGMENT
 16                    Defendant.          Hon. Percy Anderson
 17                                        Hearing Date: September 13, 2021
                                           Time: 1:30 p.m.
 18                                        Courtroom: 9A
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                                                          DECLARATION OF ALEX MCINTOSH
                                                               Case No. 2:20-CV-09091-PA-AS
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  1         I, ALEX MCINTOSH, declare as follows:
  2         1.     I make this Declaration in support of Plaintiff’s Opposition to
  3   Defendant Thrive Causemetics, Inc.’s (“TCI”) Motion for Summary Judgment. The
  4   matters set forth herein are of my own personal knowledge if called upon to testify
  5   as to such matters, I could and would do so.
  6         2.     I am the co-founder and CEO of Thrive Natural Care, Inc. (“Thrive”)
  7   and have been the CEO of Thrive since its beginning in 2013. From my duties for
  8   Thrive, I have personal knowledge about Thrive’s sales of skincare products in the
  9   United States bearing the mark “THRIVE” (the “THRIVE Mark”).
 10         3.     Thrive began using the THRIVE Mark in relation to skincare products
 11   in August 2013. Those products consisted of Thrive Face Balm (a skin
 12   lotion/cream/moisturizer product), Thrive Face Wash (a cleanser), and Thrive
 13   Shave Oil (a skin moisturizing oil). Since September 2013, Thrive has continuously
 14   offered for sale and sold skincare products under the THRIVE Mark.
 15         4.     Today, Thrive sells a range of skincare and grooming products,
 16   including face washes and scrubs, lotions, moisturizers, sunscreens, face balms,
 17   cleansing and shaving soaps, pre-shaving and shaving oils, and grooming oils—all
 18   of which use the THRIVE Mark (collectively, “Thrive Products”).
 19         5.     Thrive sells its products through its website, www.thrivecare.co, as
 20   well as through online retail partners, including Amazon.com and Walmart.com,
 21   and through brick-and-mortar retailers such as Whole Foods. Thrive sells its
 22   products nationally and has since its inception.
 23         6.     Thrive is a successful Public Benefit Corporation with a loyal
 24   customer base and significantly increased growth, revenue, and social and
 25   environmental impact each year. Thrive achieved over $1 million sales in 2020. As
 26   of August 22, 2021, Thrive’s sales had equaled all of 2020, and are on track to
 27   double 2020 revenue by the end of this year. In addition, per the company’s Public
 28   Benefit charter, Thrive’s regenerative business model is successfully restoring
                                                               DECLARATION OF ALEX MCINTOSH
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  1   hundreds of acres of degraded lands and boosting the livelihoods of hundreds of
  2   farmers and community members in rural areas.
  3         7.     Thrive includes its THRIVE mark and branding on every product it
  4   sells, and it has done so since 2013. Each Thrive product bears THRIVE branding,
  5   including the word THRIVE in block or bold letters on the package front as well as
  6   additional references to THRIVE on the bottle or package. The images below are
  7   correct and accurate representative examples of Thrive Products.
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 19         8.     In addition to Thrive’s product packaging, Thrive’s marketing and
 20   advertising often uses the term “Thrive skincare” to refer to Thrive Products, as
 21   well as terms that include the word “thrive” and words describing the product at
 22   issue, such as “Thrive moisturizer,” “Thrive cleanser,” and “Thrive sunscreen.”
 23         9.     Prices for Thrive’s products range between $12.95 for a soap bar to
 24   $54.95 for a VIP Kit containing several Thrive skincare products.
 25         10.    Thrive targets both men and women for its Thrive Products. While it
 26   sells items such as beard oil to men, Thrive targets female customers for items like
 27   sunscreen, cleansers, lotions, and moisturizers. Women have always formed a
 28   sizable part, and in recent years the majority, of Thrive’s customer base. More than
                                                               DECLARATION OF ALEX MCINTOSH
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  1   60 percent of Thrive’s purchasers on Amazon are women. In brick-and-mortar
  2   stores such as Whole Foods, female employees were among the earliest adopters of
  3   and advocates for Thrive, among both male and female customers.
  4         11.    Since 2013, Thrive has devoted substantial money, time, and resources
  5   to developing the THRIVE brand. Thrive advertises its skincare products
  6   extensively on the Amazon and Walmart online marketplaces. The company has
  7   promotional partnerships with Amazon and Whole Foods and advertises through
  8   marketing agencies, public relations firms, social media such as Instagram and
  9   Facebook, the Thrive website blog, and online articles published on sites such as
 10   Medium. From 2018 to 2020, Thrive spent more than $660,000 on advertising the
 11   THRIVE brand.
 12         12.    Thrive’s positive business practices and high-quality products have
 13   gained significant attention from its retail partners. For example, Thrive was
 14   recently featured in a marketing video produced by Amazon, which the retailer
 15   shared with Amazon’s 700,000-plus employees and over 100 million customers.
 16   Further, in December 2020, Thrive was one of just two small businesses selected by
 17   Amazon from among thousands of sellers to receive the first Amazon Launchpad
 18   Innovation Grant for most innovative products and business model. Lastly, Whole
 19   Foods Market has several times featured Thrive as a “favorite” brand for its
 20   customers.
 21         13.    Thrive regularly receives media coverage from major national news
 22   outlets, such as a June 30, 2021, four-page article about Thrive in USA Today
 23   entitled “How a small, sustainable skin care brand became a best-selling Amazon
 24   partner. Thrive Natural Care has grown by 1,300% in just four years”. A true and
 25   correct copy of the USA Today article is attached as Exhibit A, and can be found at
 26   the following url: https://www.usatoday.com/story/sponsor-story/amazon-small-
 27   business/2021/06/30/how-small-sustainable-skin-care-brand-became-best-selling-
 28   amazon-partner/7803615002/.
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  1         14.    Thrive’s products, mission, and business model have generated over
  2   1.5 billion media impressions in recent months alone, with coverage in publications
  3   such as USA Today, CNN, Vogue, Forbes, MarketWatch, Real Simple, People,
  4   Beauty News, The Zoe Report, Hollywood Reporter, Instyle, Byrdie, Runners
  5   World, Whole Foods Magazine, and Natural Solutions Magazine. I have also
  6   spoken on numerous podcasts about Thrive’s business, and I delivered the opening
  7   keynote speech at The Future of Sustainability 2017 conference, hosted by the New
  8   York Society of Cosmetic Chemists.
  9         15.    In recognition of Thrive’s innovative business model and market
 10   success, the company was selected by Conservation International Ventures, the
 11   investment arm of one of the world’s leading environmental organizations, for a
 12   five-year partnership and investment.
 13         16.    I chose the name “Thrive” for my company in 2012. I chose that name
 14   because I thought it encapsulated best the regenerative business model I envisioned
 15   for my company: creating unique personal care products in a way that restored
 16   degraded lands and boosted livelihoods of small-holder farmers and rural
 17   communities, first in Costa Rica and eventually around the world. In other words, I
 18   wanted to create a business model that would help farmers and communities to
 19   grow and thrive. I did not choose the name because it had any relation to a
 20   particular quality of the skincare products we sell or to any skincare products in
 21   general.
 22         17.    Thrive owns all right, title, and interest in and to U.S. Trademark
 23   Registration No. 4,467,942 (the ’942 Registration”), which was registered January
 24   14, 2014, for the word mark “THRIVE” in relation to the following goods in
 25   International Class 003: “Non-medicated skin care preparations, namely, facial
 26   lotions, cleansers and creams, creams and oils for cosmetic use, skin moisturizers;
 27   pre-shaving preparations; after shave lotions and creams.” The application which
 28   matured into the ’942 Registration was filed September 11, 2012. Thrive’s ’942
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  1   Registration has been deemed “incontestable” by the PTO.
  2         18.    Thrive owns all right, title, and interest in and to U.S. Trademark
  3   Registration 6,164,303 (the “’303 Registration,” and, together with the ’942
  4   Registration, the “THRIVE Registrations”), which was registered September 29,
  5   2020, for the word mark “THRIVE” in relation to the following goods in
  6   International Class 003: “Body and non-medicated soaps and skin cleansing gels;
  7   non-medicated skin care preparations, namely, facial lotions, cleansers and creams,
  8   oils for cosmetic use, skin moisturizers; cosmetic sun care preparations and
  9   sunscreens; shaving creams and gels; pre-shaving preparations; after shave lotions
 10   and creams.” The application which matured into the ’303 Registration was filed
 11   May 2, 2016.
 12         19.    Attached hereto as Exhibit B is a true and correct copy of the
 13   registration certificates for the THRIVE Registrations obtained from the U.S. Patent
 14   & Trademark Office (“PTO”) Trademark Status & Document Retrieval (“TSDR”)
 15   website.
 16         20.    Thrive has expended extensive resources enforcing and defending its
 17   intellectual property against such infringers, through cease-and-desist letters and
 18   litigation. Thrive has sent cease-and-desist letters to every third-party it has
 19   identified as potentially infringing its THRIVE family of trademarks. Its
 20   enforcement efforts have been very successful and are identified, in part, below:
 21      • The trademark registration for “ENTHRIVE”, U.S. Reg. No. 4,841,662, for
 22         “Beauty and cosmetic moisturizers and creams for skin care and renewal”
 23         was surrendered and is now listed as Dead and Cancelled, after demand from
 24         Thrive sent January 14, 2021.
 25      • A seller of skincare products, The Good Hippie, Inc., agreed to sell off and
 26         discontinue its use of “Thrive” branded skincare products after we sent a
 27         demand letter in October 2020. All of its “Thrive” skincare products have
 28         been removed from its website, distribution, and/or sale.
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  1      • The trademark registration for “DON’T JUST SURVIVE… THRIVE”, U.S.
  2         Reg. No. 4,858,655, for skin creams was expressly surrendered on February
  3         24, 2021, after a demand letter from Thrive sent in January 2021.
  4      • The trademark application for “THRIVA”, U.S. Serial No. 88049841, for
  5         skincare products was expressly permanently abandoned on February 19,
  6         2021, after a December 2020 demand from Thrive.
  7      • The trademark application for “Thriving Spirit”, U.S. Serial No. 88908740,
  8         was amended on January 20, 2021, to remove all skincare and skincare-
  9         related products after a January 2021 demand letter from Thrive.
 10      • The trademark registration for “NOURISH YOUR SKIN, AND THE REST
 11         WILL THRIVE”, U.S. Reg. No. 6,037,264, was expressly surrendered by the
 12         owner on January 21, 2021, after a January 2021 demand letter from Thrive.
 13      • The trademark registration for “THRIVING WITH DIABETES”, U.S. Reg.
 14         No. 5,141,471, was amended on January 19, 2021, to remove all references
 15         to skincare products after a November 2020 demand letter from Thrive.
 16      • A wellness center in Vancouver, Canada, Thrive Wellness Inc., removed its
 17         “Thrive” branded skincare products from sale and from its website after an
 18         October 2020 demand letter from Thrive.
 19      • A demand letter was sent to Diathrive, Inc. on December 29, 2020,
 20         demanding that it amend its trademark registration to remove “lotions” and
 21         that it cease selling its diabetes lotion named Diathrive. The letter was
 22         successful, and Diathrive amended its trademark application and
 23         discontinued its sale of the infringing goods.
 24      • In February 2020, Thrive Natural Care successfully enforced its trademark
 25         against THRIVA LUXE skincare products, forcing its owner, Thriva Inc., to
 26         discontinue all sales of the products and expressly abandon its trademark
 27         application, serial number 88049841.
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                                                                DECLARATION OF ALEX MCINTOSH
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  1      • A demand letter was sent to Thrive Market Inc. in October 2020 for its use of
  2         “Thrive Market” branded skincare products. Thrive has been discussing a
  3         resolution with Thrive Market and expects to successfully resolve this issue
  4         in Thrive’s favor without litigation. Thrive is prepared to bring litigation to
  5         enforce its rights if it needs to.
  6      • Thrive filed a lawsuit and is currently in litigation against Le-Vel Brands,
  7         LLC in the Central District of California concerning the latter’s use of
  8         “Thrive Skin” in relation to skincare products.
  9   Through its efforts, Thrive has substantially cleared the field in the skincare market
 10   of other entities’ use of the term “thrive” as a skincare product brand.
 11         21.    As of August 20, 2021, Plaintiff Thrive is the only entity with a live
 12   registered trademark for the mark “THRIVE” in relation to skincare products in
 13   International Class 003.
 14         22.    As part of its enforcement efforts, Thrive has made offers to license
 15   the THRIVE Mark to the following entities (in addition to TCI, which is explained
 16   in more detail below): Thrive Market, Inc., Elis Cosmetics, and THRIVA, LLC.
 17   Attached hereto as Exhibit C are true and correct copies of Thrive’s
 18   communications with those entities relating to licensing.
 19         23.    In April 2016, Thrive’s general email account received an email from
 20   Karissa Bodnar, the founder of Thrive Causemetics, Inc. (“TCI”). In her email, Ms.
 21   Bodnar asked for permission to use the THRIVE Mark on TCI’s color cosmetics
 22   products used to help women with cancer. I responded and denied that request. I
 23   chose not to pursue the issue further at that time because (a) I thought Ms. Bodnar
 24   would abide by my decision not to allow TCI’s use of our THRIVE Mark, (b) Ms.
 25   Bodnar promised in her email that TCI would “never use the word ‘Thrive’ without
 26   the word ‘Causemetics’,” and (c) Ms. Bodnar’s implication that TCI would stay in
 27   its narrow lane of women’s color cosmetics.
 28         24.    In 2017, I learned that Ms. Bodnar had ignored my response refusing
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  1   her request to use the THRIVE name, and I also learned that TCI had begun to de-
  2   emphasize the term “Causemetics” in TCI’s advertising and branding, and to refer
  3   to itself as “Thrive” from time to time, without “Causemetics”. As a result, Thrive
  4   sent a cease-and-desist letter to TCI on March 3, 2017, requesting that TCI stop
  5   using the “Thrive” name on its products. Attached hereto as Exhibit D is a true and
  6   correct copy of the letter sent by Thrive to TCI.
  7         25.    TCI responded to Thrive’s letter by rejecting the demand for TCI to
  8   stop using the name THRIVE. TCI stated in its letter that there could be no
  9   consumer confusion between the parties’ products because they sold “different
 10   product lines” (color cosmetics for TCI vs. skincare products for Thrive). I relied on
 11   that assertion to mean that TCI was not and would not sell skincare products using
 12   the THRIVE brand. Attached hereto as Exhibit E is a true and correct copy of TCI’s
 13   response letter.
 14         26.    While I was aware after the communications in 2017 of TCI’s
 15   continued use of the THRIVE name on color cosmetics, I did not take further action
 16   because TCI was not using the name on skincare products, and TCI had stated that
 17   Thrive would not have a valid legal claim unless the parties were selling the same
 18   type of goods. I relied in good faith on TCI’s response that it was selling products
 19   in a different lane, color cosmetics, than my company, Thrive.
 20         27.    In June 2019, Ms. Bodnar contacted me again, this time by telephone.
 21   During our telephonic discussion, Ms. Bodnar asked repeatedly for me to allow TCI
 22   to use the “THRIVE” name. During our call she never said anything about TCI
 23   selling skincare products or having plans to further expand by offering even more
 24   skincare products. I had no knowledge of that information. I refused Ms. Bodnar’s
 25   request nonetheless, because by that point TCI’s actions—particularly TCI’s multi-
 26   million-dollar monthly advertising blitz using the THRIVE name—had begun to
 27   create confusion among consumers and retailers. I reminded Ms. Bodnar about
 28   Thrive’s trademark registrations and stated that, for there to be any agreement, TCI
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   1   must at a minimum (1) alter its logo to deemphasize the word “Thrive” as
   2   compared to “Causemetics,” and (2) agree to compensate Thrive with a significant
   3   licensing fee for TCI’s use of the THRIVE Mark. I would not have raised the
   4   option of a licensing agreement if Thrive did not intend to license its mark to TCI in
   5   exchange for an appropriate license fee.
   6         28.    After I proposed a licensing agreement, Ms. Bodnar attempted to
   7   negotiate by offering that TCI could make a donation to charity in Thrive’s name. I
   8   rejected that proposal because accepting a charitable donation as a license fee
   9   would not have provided Thrive with sufficient benefit from the license. I
  10   responded by continuing the negotiation, telling Ms. Bodnar to discuss the matter
  11   with TCI’s Board and respond to me with a licensing fee offer. Additionally, I
  12   requested that TCI stop using the THRIVE Mark in the meantime. The call ended,
  13   and I did not hear from Ms. Bodnar or anyone from TCI again.
  14         29.    I found out in 2020 that TCI had begun to sell skincare products under
  15   the THRIVE CAUSEMETICS brand.
  16         30.    I have reviewed TCI’s website, www.thrivecausemetics.com. I noted
  17   in my review that TCI’s website has a “Skincare” section at
  18   https://thrivecausemetics.com/collections/all-skincare, which displays lotions,
  19   moisturizers, cleansers, and lip balms that TCI is selling under the THRIVE
  20   CAUSEMETICS brand. I refer to TCI’s skincare products as the “Infringing
  21   Skincare Products”.
  22         31.    The Infringing Skincare Products consists of TCI’s entire skincare
  23   line, including the following products: Overnight Sensation Brightening Sleep
  24   Mask; Liquid Balm Lip Treatment; Gravity Defying Transforming Moisturizer;
  25   Bright Balance 3-in-1 Cleanser; Defying Gravity Eye Lifting Cream; Liquid Light
  26   Therapy All-in-One Face Serum; Moisture Flash Active Nutrient Toner; Deluxe
  27   Travel Defying Gravity Transforming Moisturizer; Defying Gravity Transforming
  28   Moisturizer; Deluxe Travel Bright Balance 3-in-1 Cleanser; Moisture-Enriched
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   1   Hand Sanitizer; Overnight Sensation Gentle Resurfacing Peel; Pumpkin Spice Latte
   2   Liquid Lip Balm Treatment; Smart Microdermabrasion 2-in-1 Instant Facial;
   3   Defying Gravity Nourishing Hand + Nail Cream; Smart Microdermabrasion 2-in-1
   4   Instant Facial; Buildable Blur CC Cream; Filtered Effects Blurring Primer; all
   5   travel sized versions of these products; and all “sets” that include any of these
   6   products as part of the set.
   7         32.    TCI’s Infringing Skincare Products are identical in kind to the Thrive
   8   Products sold by Thrive under its THRIVE Mark. Both TCI and Thrive sell
   9   cleansers, moisturizers, lotions, creams, sunscreens, and lip balms under the same
  10   THRIVE brand.
  11         33.    TCI’s Infringing Skincare Products prominently feature the THRIVE
  12   Mark on the front of their packaging. Similarly, Thrive’s skincare products
  13   prominently feature the THRIVE Mark on their packaging. Examples of Thrive’s
  14   and TCI’s products are shown below.
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                                                                  DECLARATION OF ALEX MCINTOSH
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  14         34.    While TCI’s package coloring differs from Thrive’s package coloring,
  15   the prominent appearance of the THRIVE Mark on both and the similarity of the
  16   goods themselves creates a significant likelihood that consumers would believe the
  17   products are related or come from the same parent company.
  18         35.    Upon reviewing TCI’s Infringing Skincare Products on TCI’s website
  19   and related advertisements, I understand those products to range in cost between
  20   about $10 to $65. That is similar in cost to Thrive’s Thrive Products.
  21         36.    Now that TCI has expanded into the skincare market, it is a direct
  22   competitor of my company, Thrive.
  23         37.    On June 30, 2021, an Amazon customer left a review of Thrive’s
  24   sunscreen on Thrive’s Amazon.com page, which stated: “I like Thrive products and
  25   have bought eye liner and mascara from them as well as moisteurizer [sic].”
  26   However, Thrive does not sell eyeliner or mascara, but TCI does. TCI is also the
  27   only entity to my knowledge named “Thrive” that sells eyeliner, mascara, and
  28   moisturizer. This indicates the customer purchased those items from TCI and
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   1   believed them to originate from Thrive. Attached hereto as Exhibit F is a true and
   2   correct copy of this Amazon review.
   3         38.    Other Amazon reviews also show actual consumer confusion between
   4   Thrive and TCI. Attached hereto as Exhibit G are true and correct copies of two
   5   reviews left on Thrive’s Amazon product page in which the consumers had
   6   purchased a Thrive Product but confused Thrive with TCI.
   7         39.    The parties’ skincare products frequently appear next to each other in
   8   searches run on the Google search engine and the Google Shopping search engine
   9   when those searches contain terms relevant to Thrive and the Thrive Products. For
  10   example, images of and links to TCI’s Infringing Skincare Products and Thrive’s
  11   Thrive Products appeared together in searches for the following terms:
  12      Google Shopping
  13      • “thrive natural care”
  14      • thrive natural skincare
  15      • mens thrive natural care
  16      • thrive mens skin
  17      • amazon thrive natural skincare
  18      • amazon thrive natural care
  19      Google Search
  20      • thrive natural care
  21      • “thrive natural care”
  22      • amazon thrive face balm
  23      • amazon thrive natural care
  24      • amazon thrive natural skincare
  25   Attached as Exhibit H are true and correct copies of screenshots taken by me of
  26   Google and Google Shopping search results for these terms demonstrating the
  27   parties’ products appear side-by-side and in the same search results.
  28         40.    Searches using another popular search engine, Bing, also show the
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   1   parties’ skincare products appearing next to each other and in the same search
   2   results when those searches contain terms relevant to Thrive and the Thrive
   3   Products. That includes searches on the Bing and Bing Shopping search engines.
   4   Attached as Exhibit I are true and correct copies of screenshots taken by me of Bing
   5   and Bing Shopping search results for these terms demonstrating the parties’
   6   products appear side-by-side and in the same search results.
   7         41.    The fact that TCI’s Infringing Skincare Products appear together with
   8   the Thrive Products in Google and Bing searches for “Thrive” and skincare-related
   9   terms, and even for my specific company name and in searches for men’s products,
  10   creates an extremely high likelihood that consumers will see the parties’ products
  11   together when they are searching online for “Thrive” skincare products. If someone
  12   hears from a friend about my company Thrive’s great “Thrive skincare” product,
  13   the chances are they may use an online search engine like Google or Bing to find
  14   out what product the friend meant. A consumer searching online for Thrive or the
  15   Thrive Products is likely to use terms such as “Thrive skincare” and “Thrive
  16   Natural Care”. When TCI’s products, which are also referred to as “Thrive”
  17   products in search results, are shown together with the Thrive Products, it is highly
  18   likely a consumer would be confused and click on links to TCI’s products believing
  19   them to originate from or be affiliated with Thrive.
  20         42.    Thrive’s Thrive Products and TCI’s Infringing Skincare Products also
  21   appear together in searches on online marketplaces, including Amazon,
  22   Walmart.com, eBay, and Mercari. Attached as Exhibit J are true and correct copies
  23   of screenshots of instances of the parties’ products appearing together on such
  24   marketplaces. One such example is shown below and is particularly demonstrative
  25   of the side-by-side confusion of our products and TCI’s products directly where
  26   they are sold online. A search in the category of facial skin care products on
  27   Amazon.com for solely the word “thrive” returns TCI’s skincare product called
  28   Buildable Blur CC Cream for purchase directly below our genuine Thrive Natural
                                                                 DECLARATION OF ALEX MCINTOSH
                                                                      Case No. 2:20-CV-09091-PA-AS
                                                 - 13 -
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 15 of 98 Page ID #:2353




   1   Care products. This is shown in the screenshot below.
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  18         43.    When Thrive has acquired a customer on Amazon or through social
  19   media or via media articles, and that customer has purchased and tried one of
  20   Thrive’s products, the opportunity for Thrive is to cross-sell other Thrive Products
  21   to that same customer. But with TCI’s advertising and misimpressions flooding our
  22   marketing channels, the customer is funneled away from Thrive and to TCI. Thus,
  23   our hard work of attracting the attention of a potential customer, converting the
  24   customer to purchase, and then creating repeat purchase and cross-selling
  25   opportunities is all for naught when TCI is siphoning off Thrive customers with
  26   TCI’s infringing mark usage and extremely high ad budget.
  27         44.    Thrive’s THRIVE Mark is particularly valuable because it is the only
  28   registered mark beginning with “thrive” or for “thrive” alone for skincare products.
                                                                 DECLARATION OF ALEX MCINTOSH
                                                                      Case No. 2:20-CV-09091-PA-AS
                                                - 14 -
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 16 of 98 Page ID #:2354




   1   While numerous third parties and TCI have attempted to use the mark THRIVE in
   2   relation to skincare products—demonstrating high demand for the mark—Thrive
   3   has taken steps to clear the field of other similar marks. Further, the harm caused by
   4   TCI—and, in particular, by TCI’s products showing up together with Thrive’s
   5   products in nearly every online search for Thrive’s products—is acute.
   6         45.    Outside investors have valued our THRIVE brand at $10 million.
   7         46.    In my deposition in this case, I testified that Thrive trying to do
   8   corrective advertising in the current circumstances—where TCI is spending 1,000
   9   times more per month on advertising—would not be effective or a good investment
  10   of Thrive’s advertising budget until TCI’s infringing actions have ceased. As I
  11   testified, TCI is currently out-spending Thrive 1,000 to 1 with a brand that says TCI
  12   is “selling Thrive skin care” products. Under the current circumstances where TCI’s
  13   skincare products appear together with Thrive’s skincare products in every online
  14   search, and TCI’s advertising budget is exponentially higher than Thrive’s, it would
  15   be difficult to conduct a corrective advertising campaign before TCI has ceased its
  16   infringing marketing efforts because TCI has saturated the market with
  17   misimpressions that the THRIVE Mark relates to TCI and the cost to correct those
  18   misimpressions would be extremely high.
  19         47.    Further, by the placement of TCI’s ads and products, it appears TCI
  20   bids on advertising keywords containing the word “thrive,” which in turn would
  21   drive up the price for those keywords for anyone else attempting to bid on them.
  22   That would cause Thrive would have to pay far more to secure advertising
  23   keywords for its own registered trademark. Those high costs would be significant to
  24   Thrive, which is a small business without hundreds of millions of dollars in
  25   revenue.
  26         48.    If and when TCI is stopped from using the THRIVE Mark and stops
  27   flooding the market with its own ads linking “THRIVE” to TCI, then spending
  28   money on corrective advertising could be highly effective. However, given the
                                                                  DECLARATION OF ALEX MCINTOSH
                                                                       Case No. 2:20-CV-09091-PA-AS
                                                 - 15 -
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 17 of 98 Page ID #:2355




   1   ubiquity of TCI’s advertising, it would take a very substantial amount of corrective
   2   advertising to remedy the several years of misimpressions created by TCI. Until
   3   TCI’s infringement is stopped, Thrive simply does not have the multi-million-dollar
   4   ad budget necessary to combat TCI’s misimpressions.
   5         49.    Unless TCI is forced to stop using the THRIVE Mark on skincare
   6   products, the parties will continue to compete against each other in the same market
   7   selling the same types of goods. That will only continue to exacerbate the consumer
   8   confusion problem caused by TCI selling goods under my company’s THRIVE
   9   Mark and advertising in ways that cause TCI’s skincare products to appear together
  10   with Thrive’s skincare products in online searches and marketplaces.
  11         I declare under penalty of perjury that the foregoing is true and correct.
  12         Executed on August 23, 2021, at San Francisco, California.
  13

  14                                          Alex McIntosh
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                                                                 DECLARATION OF ALEX MCINTOSH
                                                                      Case No. 2:20-CV-09091-PA-AS
                                                - 16 -
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 18 of 98 Page ID #:2356




                               Exhibit A




                                                            MCINTOSH OPP. 1
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 19 of 98 Page ID #:2357




                                                            MCINTOSH OPP. 2
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 20 of 98 Page ID #:2358




                                                            MCINTOSH OPP. 3
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 21 of 98 Page ID #:2359




                                                            MCINTOSH OPP. 4
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 22 of 98 Page ID #:2360




                               Exhibit B




                                                            MCINTOSH OPP. 5
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 23 of 98 Page ID #:2361




                                                            MCINTOSH OPP. 6
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 24 of 98 Page ID #:2362




                                                            MCINTOSH OPP. 7
  Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 25 of 98 Page ID #:2363




Reg. No. 6,164,303         Thrive Natural Care, Inc. (DELAWARE CORPORATION)
                           42 Darrell Place
Registered Sep. 29, 2020   San Francisco, CALIFORNIA 94133

                           CLASS 3: Body and non-medicated soaps and skin cleansing gels; non-medicated skin care
Int. Cl.: 3                preparations, namely, facial lotions, cleansers and creams, oils for cosmetic use, skin
                           moisturizers; cosmetic sun care preparations and sunscreens; shaving creams and gels; pre-
Trademark                  shaving preparations; after shave lotions and creams

Principal Register         FIRST USE 9-5-2013; IN COMMERCE 9-5-2013

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-021,374, FILED 05-02-2016




                                                                                 MCINTOSH OPP. 8
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 26 of 98 Page ID #:2364

        REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


     Requirements in the First Ten Years*
     What and When to File:


         • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
           and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
            the registration will continue in force for the remainder of the ten-year period, calculated from the
            registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


         • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
           an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
            §1059.


     Requirements in Successive Ten-Year Periods*
     What and When to File:

         • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
           between every 9th and 10th-year period, calculated from the registration date.*

     Grace Period Filings*

     The above documents will be accepted as timely if filed within six months after the deadlines listed above
     with the payment of an additional fee.

     *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
     an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
     Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
     (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
     date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
     those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
     registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
     underlying international registration at the International Bureau of the World Intellectual Property
     Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
     protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
     information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

     NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
     USPTO website for further information. With the exception of renewal applications for registered
     extensions of protection, you can file the registration maintenance documents referenced above online
     at http://www.uspto.gov.

     NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
     owners/holders who authorize e-mail communication and maintain a current e-mail address with the
     USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
     Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
     Forms available at http://www.uspto.gov.




                                              Page: 2 of 2 / RN # 6164303

                                                                                            MCINTOSH OPP. 9
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 27 of 98 Page ID #:2365




                               Exhibit C




                                                           MCINTOSH OPP. 10
6/8/2021 Case    2:20-cv-09091-PA-AS
                                McArthur Document         57 Filed
                                         Law Mail - Infringement         08/23/21
                                                                 of Thrive Natural Care, Page     28 of 98
                                                                                         Inc.’s Registered      Page ID #:2366
                                                                                                           Trademarks



                                                                                          Stephen McArthur <stephen@smcarthurlaw.com>



  Infringement of Thrive Natural Care, Inc.’s Registered Trademarks
  Stephen McArthur <stephen@smcarthurlaw.com>                                                               Mon, Nov 30, 2020 at 4:39 PM
  To: Ken Kwartler <Ken@kwartlerlaw.com>
  Cc: Ricky Brown <ricky@smcarthurlaw.com>, Tom Dietrich <tom@smcarthurlaw.com>

    Mr. Kwartler, I write in response to your letter dated 11/20/2020. Your entire analysis is mistakenly about TTAB opinions
    and various third-party applications and registrations on the USPTO registry, none of which are relevant to a federal court
    infringement and damages analysis. The bottom line is that (a) Thrive Natural Care has a registered, incontestable
    trademark for the term "THRIVE" for skincare products, (b) Thrive Natural Care is the senior user, and (c) your client is
    using my client's registered, incontestable mark to sell identical products. TTAB rules are not relevant here to federal
    court. You can attempt to find edge arguments here, but they won't avail your client here in a situation that is so cut and
    dried. If we cannot come to an agreement here, we will file a lawsuit, as we have done against Thrive Causemetics, and
    we will win on summary judgment.

    Please let me know whether your client is willing to discuss entering into a licensing agreement and royalty payments for
    its past and future use of my client's THRIVE trademarks.

    The McArthur Law Firm
    Stephen Charles McArthur
    9465 Wilshire Blvd, Suite 300
    Beverly Hills, CA 90212
    (424) 258-6815
    www.smcarthurlaw.com

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    received this message in error, please notify The McArthur Law Firm at stephen@smcarthurlaw.com and delete all
    copies. Sender reserves and asserts all rights to confidentiality, including all privileges and copyrights that may apply.
    Thank you.


    [Quoted text hidden]
      [Quoted text hidden]
      Ken Kwartler Law Office

      5300 Meadows Road, Suite 200

      Lake Oswego, OR 97035

      (503) 806 3734



      www.KwartlerLaw.com



      Trademark, copyright, technology and related legal, business and marketing issues



               On Nov 17, 2020, at 10:01 AM, Ken Kwartler <Ken@KwartlerLaw.com> wrote:

               Stephen,

               Alas, it looks like we will need a few more days to provide our substantive response to your October 27
               letter. We should have it for you by week’s end.

               Thank you for your patience.

               Regards,
                                                                                                        MCINTOSH OPP. 11
https://mail.google.com/mail/u/0?ik=4dc446a87e&view=pt&search=all&permmsgid=msg-a%3Ar5316905250152650148&simpl=msg-a%3Ar53169052…      1/2
6/8/2021 Case   2:20-cv-09091-PA-AS
                               McArthur Document         57 Filed
                                        Law Mail - Infringement         08/23/21
                                                                of Thrive Natural Care, Page     29 of 98
                                                                                        Inc.’s Registered      Page ID #:2367
                                                                                                          Trademarks
             Ken

             [Quoted text hidden]




                                                                                                MCINTOSH OPP. 12
https://mail.google.com/mail/u/0?ik=4dc446a87e&view=pt&search=all&permmsgid=msg-a%3Ar5316905250152650148&simpl=msg-a%3Ar53169052…   2/2
  Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 30 of 98 Page ID #:2368

9465 Wilshire Blvd., Ste. 300
Beverly Hills, CA 90212            M©ARTHUR                                                      (323) 639-4455
                                                                                       stephen@smcarthurlaw.com



                                              LAW FIRM
     Lisa Icenhower & Elis Cosmetics
     5801 LONG PRAIRIE RD SUITE 54
     FLOWER MOUND, TX 75028
     info@eliscosmetics.com


               Re: CEASE AND DESIST USE OF THRIVE® REGISTERED TRADEMARKS

     Dear Lisa Icenhower & Elis Cosmetics,

               We are legal counsel to Thrive Natural Care, Inc., (hereinafter “Thrive”). Since 2013
     Thrive has sold skincare products to the public branded as “THRIVE NATURAL CARE” and
     protected with a federal registered trademark. Today, Thrive sells a range of skincare and
     grooming products, including, but not limited to, face washes and scrubs, lotions, moisturizers,
     sunscreens, face balms, shaving lotions, and grooming oils. Thrive skincare products are sold
     online at www.thrivecare.co and through retail partnerships with Amazon and Walmart.com, as
     well as at Whole Foods Markets on the West Coast. Thrive is the sole owner of all intellectual
     property for the THRIVE® brand, which has been registered with the U.S. Patent and Trademark
     Office for over six years under registration number 4,467,942. THRIVE® has achieved
     incontestability status under the Lanham Act because it has been registered to Thrive and
     continuously used by Thrive for over five consecutive years. Thrive also owns registration No.
     6,164,303 issued on September 29, 2020 and application serial number 90198496 for a wide
     range of products that fall within the natural zone of expansion of its other two registered
     trademarks.

               Nevertheless, it has come to our attention that ELIS COSMETICS is selling THRIVE
     NATURAL CARE branded lotion and skincare products (the “Infringing Products”) as “Thrive
     Natural Skin Care” Products. Representative examples of the Infringement can be seen here:

                    •    https://www.eliscosmetics.com/
                    •    https://www.eliscosmetics.com/thrive/




                                                                                 MCINTOSH OPP. 13
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 31 of 98 Page ID #:2369

                                                                                             Page 2



  You are using an identical trademark to sell identical goods despite my clients registered federal
  rights. The similarity of the marks and products constitutes, among other things, trademark
  infringement and unfair competition in violation of Section 32 and 43(a) of the Lanham Act, 15
  USC §§1115 and 1125(a). Thrive’s statutory remedies include a total disgorgement of
  profits, triple reimbursement of Thrive’s losses, payment of Thrive’s attorneys’ fees and
  costs, and damages for corrective advertising. Please note that we have already sued another
  infringer just a few months ago, and if we do not resolve your blatant infringement quickly, my
  client will not hesitate to sue you as well.

         Accordingly, we hereby demand that you immediately confirm in writing by the date
  below that you will :

             1. Provide an accounting of all sales and revenue from your sale of all “Thrive
                 Natural Skincare” banded lotion and skincare products and disgorge all profits to
                 our client, as well as an additional 20% licensing fee of all revenue made; and
                 either
             2. Permanently cease and desist all use of the mark THRIVE®, or any other iteration
                 of THRIVE® in connection with skincare lotion and related products worldwide
                 within 30 days from the date this letter was sent. This includes “Thrive Natural
                 Skin Care Products;” or
             3. Enter into a licensing contract with Thrive and pay an ongoing royalty percentage
                 of twenty percent (20%) on all future gross revenue for your use of the brand
                 name THRIVE®. This is contingent upon agreement to a formal non-exclusive
                 licensing arrangement that would include all standard licensing terms such as full
                 quality control, approval rights, audit rights, and licensor control and ownership
                 of all associated trademark good will. You must also submit evidence of all
                 revenue for an appropriate calculation to be made. If no agreement can be
                 reached, then you must cease and desist all use of the mark.

  Please respond no later than Wednesday, February 3, 2021. While we much prefer to resolve
  this matter in a cooperative and professional manner, if we do not hear from you by February 3,


                  The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com

                                                                             MCINTOSH OPP. 14
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 32 of 98 Page ID #:2370

                                                                                              Page 3



  then we will have no choice but to advise our client that your continued and past use is “willful
  infringement”, that you are unwilling to cooperate, and that we should proceed accordingly by
  filing a lawsuit in federal court.

          If you have any questions or would like to discuss the details of your compliance, then I
  can best be reached by email at stephen@smcarthurlaw.com, or by phone at (323) 639-4455.
  This letter is not a complete statement of Thrive’s rights in connection with this matter, and
  nothing contained herein constitutes an express or implied waiver of any rights, remedies, or
  defenses of Thrive in connection with this matter, all of which are expressly reserved.




                                                       Best regards,


  Dated: January 27, 2021                              By:
                                                             Stephen Charles McArthur
                                                             The McArthur Law Firm
                                                             Attorneys for Thrive Natural Care




                  The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com

                                                                              MCINTOSH OPP. 15
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Beverly Hills, CA 90212            M©ARTHUR                                                       (323) 639-4455
                                                                                        stephen@smcarthurlaw.com



                                               LAW FIRM
     Erika Toy & THRIVA, LLC
     90 Longview Circle
     North Lima, Ohio 44452
     customercare@thrivaluxe.com


               Re: CEASE AND DESIST USE OF THRIVE® REGISTERED TRADEMARKS

     Dear Erika Toy & THRIVA, LLC,

               We are legal counsel to Thrive Natural Care, Inc., (hereinafter “Thrive”). Since 2013
     Thrive has sold skincare products to the public. Today, Thrive sells a range of skincare and
     grooming products, including, but not limited to, face washes and scrubs, lotions, moisturizers,
     sunscreens, face balms, shaving lotions, and grooming oils. Thrive skincare products are sold
     online at www.thrivecare.co and through retail partnerships with Amazon and Walmart.com, as
     well as at Whole Foods Markets on the West Coast. Thrive is the sole owner of all intellectual
     property for the THRIVE® brand, which has been registered with the U.S. Patent and Trademark
     Office for over six years under registration number 4,467,942. THRIVE® has achieved
     incontestability status under the Lanham Act because it has been registered to Thrive and
     continuously used by Thrive for over five consecutive years. Thrive also owns registration No.
     6,164,303 issued on September 29, 2020 and application serial number 90198496 for a wide
     range of products that fall within the natural zone of expansion of its other two registered
     trademarks.

               It has come to our attention that THRIVA, LLC is selling THRIVE branded lotion and
     skincare products (the “Infringing Products”). Representative examples of the Infringing
     Products can be seen here:

                    •    https://thrivaluxe.com/shop
                    •    https://thrivaluxe.com/product/the-thriva-bundle
                    •    https://thrivaluxe.com/product/eye-revive-botanical-peptides




                                                                                   MCINTOSH OPP. 16
                                                                                              TNC01007
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 34 of 98 Page ID #:2372

                                                                                               Page 2



             •   https://thrivaluxe.com/product/face-revive-daily-moisturizer-anti-aging-
                 resveratrol-peptide-complex-ultra-plumping-moisturizer-hyaluronic-acid
             •   https://thrivaluxe.com/product/neuropeptide-super-serum-growth-factors-
                 collagen-boosting-firming-increase-elasticity
             •   https://thrivaluxe.com/product/ultra-rich-body-repair-cream

  The similarity of the marks and products constitutes, among other things, trademark infringement
  and unfair competition in violation of Section 32 and 43(a) of the Lanham Act, 15 USC §§1115
  and 1125(a). Indeed, two of your applications have already been blocked by our registrations by
  the USPTO on grounds of likelihood of confusion. Thrive’s statutory remedies include a total
  disgorgement of profits, triple reimbursement of Thrive’s losses, payment of Thrive’s attorneys’
  fees and costs, and damages for corrective advertising.

         Accordingly, we hereby demand that you immediately confirm in writing by the date
  below that you will either:

             1. Permanently cease and desist all use of the mark THRIVE®, or any other iteration
                 of THRIVE® in connection with skincare lotion and related products worldwide
                 within 30 days from the date this letter was sent. This includes “THRIVE AND
                 SHINE” and “THRIVA”.; and
             2. Expressly Abandon THRIVA (application No. 88,049,841) using the form found
                 at https://teas.uspto.gov/rea/; or

             3. Enter into a licensing contract with Thrive and pay an ongoing royalty percentage
                 of twenty percent (20%) on all past and future gross revenue for your use of the
                 brand name THRIVE®. This is contingent upon agreement to a formal non-
                 exclusive licensing arrangement that would include all standard licensing terms
                 such as full quality control, approval rights, audit rights, and licensor control and
                 ownership of all associated trademark good will. If no agreement can be reached,
                 then you must cease and desist all use of the mark.




                 The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com

                                                                               MCINTOSH OPP. 17
                                                                                           TNC01008
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 35 of 98 Page ID #:2373

                                                                                              Page 3



  Please respond no later than Tuesday, January 5, 2021. While we much prefer to resolve this
  matter in a cooperative and professional manner, if we do not hear from you by January 5, then
  we will have no choice but to advise our client that your continued and past use is “willful
  infringement”, that you are unwilling to cooperate, and that we should proceed accordingly by
  filing a lawsuit in federal court.

          If you have any questions or would like to discuss the details of your compliance, then I
  can best be reached by email at stephen@smcarthurlaw.com, or by phone at (323) 639-4455.
  This letter is not a complete statement of Thrive’s rights in connection with this matter, and
  nothing contained herein constitutes an express or implied waiver of any rights, remedies, or
  defenses of Thrive in connection with this matter, all of which are expressly reserved.




                                                       Best regards,


  Dated: December 29, 2020                             By:
                                                             Stephen Charles McArthur
                                                             The McArthur Law Firm
                                                             Attorneys for Thrive Natural Care




                  The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com

                                                                              MCINTOSH OPP. 18
                                                                                            TNC01009
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                               Exhibit D




                                                           MCINTOSH OPP. 19
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 37 of 98 Page ID #:2375




                                                           MCINTOSH OPP. 20
                                                                    TNC00902
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                                                           MCINTOSH OPP. 21
                                                                    TNC00903
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                               Exhibit E




                                                           MCINTOSH OPP. 22
Case 2:20-cv-09091-PA-AS Document 57 Filed 08/23/21 Page 40 of 98 Page ID #:2378




  Sent Via U.S. Mail and Email

  April 12, 2017

  Travis Manfredi
  Cobalt LLP
  918 Parker Street, Bldg A21
  Berkeley, CA 94710
  travis@cobaltlaw.com

  Re:     Thrive Natural Care, Inc. / Thrive Causemetics, Inc.

  Mr. Manfredi:

  As previously advised, we represent Thrive Causemetics, Inc. (“TCI”) with respect to trademark matters. I
  write in response to your March 3, 2017 letter to Ms. Karissa Bodnar, alleging that TCI is infringing the
  THRIVE trademark of your client, Thrive Natural Care, Inc. (“Thrive”), and demanding that TCI cease
  further use of its trademark, THRIVE CAUSEMETICS.

  As it appears that you followed the prosecution of TCI’s trademark registration application before the
  USPTO, you are likely aware that the trademark examining attorney initially raised the issue of potential
  likelihood of confusion between TCI’s THRIVE CAUSEMETICS trademark and your client’s THRIVE
  trademark. You should also be aware that the trademark examining attorney subsequently withdrew the
  refusal to register the THRIVE CAUSEMETICS mark based on your client’s THRIVE trademark. For
  largely the same reasons we outlined in our response to the USPTO office action, we disagree with your
  assertion that consumers are likely to be confused by the trademarks of each party.

  In your letter, you state that “there is no question that your use of a mark that merely adds a term and is
  used in connection with related products is likely to cause consumer confusion between the marks.” This
  was the same argument initially asserted by the trademark examining attorney. However, as we advised
  the trademark examining attorney, consideration of only the “thrive” portion of the two trademarks is
  improper in determining likelihood of confusion. TCI’s trademark contains the additional coined term
  “causemetics.” The inclusion of this unique term within TCI’s trademark is significant, as it differentiates
  the appearance, sound and commercial impression of TCI’s trademark from your client’s THRIVE mark.
  The term “causemetics” suggests the important charitable aspect of TCI’s business, which is supporting
  and empowering women fighting cancer and facing other challenges such as domestic abuse. To the
  extent the same consumers would even encounter both the trademark of Thrive and that of TCI, those
  consumers would be able to discern between the two brands due to the inclusion of “causemetics” in
  TCI’s trademark, the overall branding of the different goods by our respective clients, which is quite
  distinct, and the different product lines. It is also simply not tenable that your client holds exclusive rights
  to the use of the word “thrive” in connection with any personal care, health, beauty, or the enormous
  market of related products. Thrive is a commonly used name and branding term to evoke some sense of




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  living well through the use of the relevant product. Your client has not created sufficient market
  awareness of its brand to crowd out others who want to use this common word. For at least these
  reasons, TCI will not agree to cease all use of its THRIVE CAUSEMETICS trademark.

  You may be aware that TCI reached out to Thrive in April of 2016 regarding the possibility of a mutual
  trademark coexistence agreement. While your client politely rejected that request at the time, we would
  invite your client to reconsider. Given that your client’s business is primarily aimed at men’s skincare and
  shaving products, while TCI’s is aimed at women’s makeup, a trademark coexistence agreement would
  appear to be a simple way of resolving this matter. Through such an agreement, the two companies could
  set forth certain restrictions on their respective branding and marketing efforts intended to avoid the
  potential for consumer confusion down the road.

  As I am sure you are aware, any active legal dispute over this trademark matter is going to be time-
  consuming and expensive. Although litigation has inherent uncertainties, we are confident that TCI will be
  able to successfully defend any claim of infringement and retain the right to use its trademark. Both of our
  clients, and our clients’ investors, would be better served by focusing on growing their respective
  businesses with clear boundaries as to each other’s trademark.

  If you wish to discuss the possibility of Thrive and TCI entering into a trademark coexistence agreement,
  please feel free to contact me. I may be reached by email at sean@focallaw.com or by telephone at
  206.617.3040.

  This letter is made without prejudice to or waiver of any rights, remedies or defenses available to TCI, all
  of which are reserved.

  Sincerely,

  Focal PLLC




  Sean M. McChesney




                                                                                     MCINTOSH OPP. 24
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                               Exhibit F




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                               Exhibit G




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   ;C>;ÿÿ@<GHJÿi<ÿ8?ÿ>?Jÿ<G;ÿ<pÿ;CAÿ<@A>?ÿ=<DAÿ;C>?              8?ÿ>ÿ9>8?pGHRÿC<;ÿD>MCÿ<?ÿ=Kÿ?A@7ÿ>?Jÿp>@ARÿYCADA FAAJÿ@GM;<=ADÿMADE8@AwÿXH8@7ÿCADA
   Pÿ;8=AMÿjAp<DAÿÿpAH;ÿÿ?AAJAJÿ;<ÿDA>99HK¡ÿBC8Mÿ8Mÿ>             ÿ>99H8AJÿ;CAÿMG?M@DAA?WÿÿJ<ÿC>EAÿMG9ADÿMA?M8;8EA
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   C77B@ÿx9W@;?:WdWZwÿ;9ÿ;[7ÿ@jWZvÿuzxÿZ9;ÿ@?:7ÿ[9XÿW;ÿY97@ÿ9Zÿ9WBW7:ÿ@jWZ@aÿxWZ7ÿW@ÿY:lÿ=ZYÿ@9=j@ÿW;ÿ?8vÿ
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                 ÿEPPJÿrTGJÿKtGTÿQRFÿNÿQIsPÿIJpÿJPsUÿPPFNpIN
   67VW7X7YÿWZÿ;[7ÿ\ZW;7Yÿ];=;7@ÿ9Zÿ^?Z7ÿ_caÿbcb_
   ]Wd7eÿ̀ÿf?Zg7ÿhi=gjÿ9Cÿ_k ];lB7eÿm9Yl nPFGoPpÿqrFstITP
   uÿBWj7ÿ[9XÿBWw[;ÿ;[7ÿ@g7Z;ÿW@aÿ=ZYÿ;[7:7ÿ=:7ÿZ9ÿ@;:7=j@aÿ=B@9ÿuÿY9Z;ÿ[=V7ÿ;9ÿ?@7ÿV7:lÿx?g[ÿ8:9Y?g;vÿm77Zÿ?@WZw
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   8:7V7Z;ÿ>B?7ÿBWw[;ÿC:9xÿ=7g;WZwÿ;[7ÿ@jWZÿXW;[ÿ7;7ZY7Yÿ[9?:@ÿWZÿC:9Z;ÿ9Cÿ@g:77Z@vÿ{BX=l@ÿg[7gjÿXW;[ÿ=
   Y7:x=;9B9wW@;ÿ;[9?w[ÿ9Cÿg9?:@7vÿW;[7:ÿX=lÿW;@ÿ=ÿZWg7ÿY=WBlÿ@?Z@g:77ZÿXW;[ÿZ9ÿ>=Yÿg[7xWg=B@ÿ9:ÿ[WYY7Zÿi@v
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                               Exhibit H




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                                                                      MCINTOSH OPP. 50
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                                                           MCINTOSH OPP. 71
7/30/2021Case      2:20-cv-09091-PA-AS Document 57 Amazon.com
                                                    Filed 08/23/21
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                     Hello
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                                                                                                                          Hello, Sign in           Returns            0
                     Select your address                                                                                  Account & Lists          & Orders


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   1-48 of over 5,000 results for "thrive skin"                                                                                                   Sort  by:Featured
                                                                                                                                                  Featured
                                                                                                                                                   Sort by:


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       Free Shipping by Amazon
   All customers get FREE Shipping
   on orders over $25 shipped by
   Amazon

   Local Stores
      Amazon Fresh
      Bristol Farms
     See more

   Climate Pledge Friendly
      Climate Pledge Friendly
                                          THRIVE All Natural Face                     THRIVE Natural Face Wash Gel            THRIVE Natural Face Scrub for
   Department                             Cream for Sensitive Skin –                  for Men & Women – Daily                 Men & Women – Exfoliating
   Beauty & Personal Care                 Facial Moisturizer Restores,                Facial Cleanser with Anti-              Face Wash with Anti-Oxidants
    Makeup                                Protects Skin & Helps Sooth…                Oxidants & Unique Premium…              Improves Skin Texture,…
    Facial Serums
                                          2 Fl Oz (Pack of 1)                                        711                                         1,243
    Face Moisturizers
                                                             219
    Eye Treatment Products                                                            $1295 ($3.83/Fl Oz)                     $1495 ($4.42/Fl Oz)
    Facial Cleansing Washes               $   16  95 ($8.48/Fl Oz)                    $11.66 with Subscribe & Save            $13.46 with Subscribe & Save
   Health & Household                                                                 discount                                discount
                                          $15.26 with Subscribe & Save
    Vitamins & Dietary
                                          discount                                            Get it as soon as                       Get it as soon as
    Supplements
     See All 22 Departments                             Get it as soon as Sun, Aug    Tomorrow, Jul 31                        Tomorrow, Jul 31
                                          1                                           FREE Shipping on orders over $25        FREE Shipping on orders over $25
   Avg. Customer Review                                                               shipped by Amazon                       shipped by Amazon
                                          FREE Shipping on orders over $25
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   Brand
      Neutrogena
      CeraVe
      Maybelline New York
      L'Oreal Paris
      REVLON
      Crest
      Philips Norelco
     See more                             Thrive Causemetics Buildable                THRIVE Natural Moisturizing             THRIVE Natural Deep Clean
   Price                                  Blur CC Cream - Medium Beige                Mineral Face Sunscreen SPF              Skincare Kit for Men & Women
   Under $25                              Neutral Undertone                           30, 2 Ounces – Lightweight              (3 Piece) – Gift Set with
   $25 to $50                             Cream · 1.08 Fl Oz (Pack of 1)              Moisturizer Broad-Spectrum…             Natural Face Scrub, Wash &…
   $50 to $100                                               9                        SPF 30 · 2 Fl Oz (Pack of 1)                               799
   $100 to $200
                                                                                                     1,542
   $200 & Above                           $
                                              4000 ($37.04/Fl Oz)                                                             $
                                                                                                                               3995 ($13.32/Count)
    $ Min       $ Max       Go            Get it Tue, Aug 3 - Fri, Aug 6
                                                                                      $24  95 ($12.48/Fl Oz)
                                                                                                                                      Get it as soon as Sun, Aug
                                          FREE Shipping                               $22.46 with Subscribe & Save            1
                                          Only 15 left in stock - order soon.         discount                                FREE Shipping by Amazon
   Deals
                                                                                      Join Prime to save $2.50 on this
      Today's Deals
                                                                                      item
   Premium Beauty Selection                                                                   Get it as soon as
      Premium Selection                                                               Tomorrow, Jul 31
                                                                                      FREE Shipping on orders over $25
   Beauty Product Attributes                                                          shipped by Amazon
      Alcohol Free                                                                    FSA or HSA eligible
      Ammonia Free
                                                                                                                                TNC03065
                                                                                                                         MCINTOSH OPP. 72
https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                                                   1/8
7/30/2021Case     2:20-cv-09091-PA-AS Document 57 Amazon.com
                                                   Filed 08/23/21
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     Contains Keratin
     Formaldehyde Free
     Hypoallergenic
     Oil Free
     PABA Free
    See more

   Subscribe & Save
      Subscribe & Save Eligible

   Packaging Option
      Frustration-Free Packaging
                                     Thrive Causemetics Buildable           Thrive Causemetics Buildable            Your Skin But Better CC Cream
   International Shipping
                                     Blur CC Cream Beige Golden             Blur CC Cream Broad                     Oil-Free Matte with SPF 40 -
       International Shipping
   Eligible                          Neutral Undertones 30mL                Spectrum SPF 35 - Light                 Light Medium
                                     Cream                                  (Neutral Undertones)                    1.08 Fl Oz (Pack of 1)
   Condition
                                                                                              1                                        748
   New                               $
                                      3600 ($36.00/Fl Oz)
   Used
                                     Get it Tue, Aug 3 - Fri, Aug 6
                                                                            $
                                                                             75    00
                                                                                        ($75.00/Count)              $
                                                                                                                     42     99
                                                                                                                                 ($39.81/Fl Oz)
   Availability                      FREE Shipping                          Get it as soon as Thu, Aug 5                    Get it as soon as
      Include Out of Stock                                                  $4.99 shipping                          Tomorrow, Jul 31
                                                                            Only 3 left in stock - order soon.      FREE Shipping by Amazon
                                                                            More Buying Choices                     Only 5 left in stock - order soon.
                                                                            $69.00 (2 new offers)                   More Buying Choices
                                                                                                                    $40.50 (15 new offers)

                                                                                                                        Best Seller




                                     It Cosmetics CC Matte Cream            IT Cosmetics Je Ne SAIS Quoi
                                     Medium 1.08 fl oz                      Lip Treatment, Your Perfect             IT Cosmetics Your Skin But
                                     1.08 Fl Oz (Pack of 1)                 Pink - Anti-Aging Lip Balm -            Better CC+ Cream, Medium
                                                       314                  Reacts with Your Lips to…               (W) - Color Correcting Cream,
                                                                            0.11 Ounce (Pack of 1)
                                     $4000 ($37.04/Fl Oz) $45.99                                                    Full-Coverage Foundation,…
                                                                                              1,455                 1.08 Fl Oz (Pack of 1)
                                               Get it as soon as Sun, Aug
                                     1                                          Save 37%                                               12,078
                                     FREE Shipping by Amazon
                                     Only 8 left in stock - order soon.
                                                                            $1563 $24.97                            $2920 $37.38
                                                                            Lowest price in 30 days                         Get it as soon as Sun, Aug
                                     More Buying Choices
                                     $37.00 (30 new offers)                 Get it Fri, Aug 6 - Wed, Aug 11         1
                                                                            FREE Shipping                           FREE Shipping by Amazon
                                                                                                                    More Buying Choices
                                                                                                                    $28.99 (20 new offers)




                                                                                                                        TNC03066
                                                                                                                 MCINTOSH OPP. 73
https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                                  2/8
7/30/2021Case   2:20-cv-09091-PA-AS Document 57 Amazon.com
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                                     LUXAZA 6 PCS Neutral and              Covergirl Simply Ageless            Probiotic Action®
                                     Brown Metallic Eyeshadow              Instant Wrinkle Blurring            Breakthrough probiotic
                                     Stick,Warm to Cool Cream              Pressed Powder, Fair Ivory, 3.9     Technology for Your Skin.
                                     Shimmer Eyeshadow Pencil…             Oz.                                 Acne Treatment. Eczema and…
                                                       3,179               3.9 Ounce (Pack of 1)               1.7 Fl Oz (Pack of 1)
                                                                                              544                             245
                                     $
                                      1899
                                     Save more with Subscribe & Save       $
                                                                            11     99                          $
                                                                                                                18 ($11.21/Fl Oz)
                                                                                                                    95

                                                                           $11.39 with Subscribe & Save        Save more with Subscribe & Save
                                     FREE Shipping on orders over $25      discount                                    Get it as soon as
                                     shipped by Amazon                             Get it as soon as           Tomorrow, Jul 31
                                     Only 18 left in stock - order soon.   Tomorrow, Jul 31                    FREE Shipping on orders over $25
                                                                           FREE Shipping on orders over $25    shipped by Amazon
                                                                           shipped by Amazon




                                     THRIVE Natural Shave Oil for          Thrive Causemetics Brilliant        Glo Skin Beauty Cream Stay
                                     Men, 2 Ounces (60mL) –                Eye Brightener - Estrella           Shadow Stick
                                     Replaces Pre-Shave Oils,              0.5 Ounce (Pack of 1)                              267
                                     Shaving Creams, Gels, and…                               2                $2000 ($404.86/Ounce)
                                     2 Fl Oz (Pack of 1)                   $49     99
                                                                                        ($49.99/Count)         Save more with Subscribe & Save
                                                       543
                                                                           FREE Shipping by Amazon                       Get it as soon as Sun, Aug
                                     $18   95 ($9.48/Fl Oz)                In stock soon.                      1
                                     $17.06 with Subscribe & Save                                              FREE Shipping on orders over $25
                                     discount                                                                  shipped by Amazon
                                     Join Prime to save $1.90 on this
                                     item
                                               Get it as soon as
                                     Tomorrow, Jul 31
                                     FREE Shipping on orders over $25
                                     shipped by Amazon

                                                                               Best Seller




                                     TULA Skin Care Glow & Get It                                              Maybelline Baby Skin Instant
                                     Cooling & Brightening Eye             Julep Eyeshadow 101 Crème           Pore Eraser Primer, Clear, 0.67
                                     Balm | Dark Circle Under Eye          to Powder Waterproof                Fl Oz (Pack of 2)
                                     Treatment, Instantly Hydrate…         Eyeshadow Stick, Sand               0.67 Fl Oz (Pack of 2)
                                     0.35 Ounce (Pack of 1)                Shimmer                                            3,283

                                                       3,253                                  13,792          1017 $11.98
                                                                                                               $

                                       $2800 ($28 00/C                                                       $9.66 withTNC03067
                                                                                                          MCINTOSH       OPP. &74
                                                                                                                        Subscribe Save
                                                        t)                 $
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https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                               3/8
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                                                                                          TNC02069
                                                                                   MCINTOSH OPP. 78
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                                                              08/23/21
                                                                 Care | MercariPage 96 of 98 Page ID #:2434


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                        deals


   Mercari / Thrive / Beauty / Skin care



                                                  Thrive Skin Care                              (29 results)
                                                                                                                   Save this search


   Filter by                                                                                                   Sort by:   Best match




   Keyword

         Enter keyword



   Shipping

        Any                                       Our Brilliant Eye Brightener   NWT Thrive Skincare Bu…        Thrive Skincare Set            Thrive age defying eye cr…
                                                  Thrive                         Thrive                         Thrive                         Thrive
        FREE                                      $22                            $13                            $14 $22 36% OFF                $36 $38 5% OFF



   Delivery

        Any

        Mercari Now



                                                  Infinite Detox Body Scrub      Thrive Causemetics Liqui…      Thrive Brightener & Sponge     Thrive Causemetics Mois…
   Category
                                                  Thrive                         Thrive                         Thrive                         Thrive
                                                  $9 $13 30% OFF                 $22                            $28                            $18
        Beauty
                                                                                     Free shipping
           Skin care

              Body

              Eyes

              Face

              Feet

              Hands & nails                       Thrive foundation shade …      Thrive Causmetics shade…       Overnight Sensation Brig…      Bundle
                                                  Thrive                         Thrive                         Thrive                         Thrive
              Lips
                                                  $22                            $18 $20 10% OFF                $51 $62 17% OFF                $37

              Maternity

              Sets & kits

              Sun

              Other




   Brand                                          Thrive Causemetics Over…       thrive causmetics overni…      Thrive skin body scrub         Thrive Daily Defense Sun…
                                                  Thrive                         Thrive                         Thrive                         Thrive

         Find a brand                             $50                            $42                            $10                            $12 $14 14% OFF


        Thrive

                                                                                                                                   TNC00916
                                                                                                                            MCINTOSH OPP. 79
https://www.mercari.com/us/brand/6377/92/                                                                                                                                   1/8
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       Under $25

       $25 to $50
                                                Defying gravity eye liftin…   thrive skin infinite detox   Thrive Causemetics Nail …   THRIVE SKIN -- Charcoal…
       $50 to $100                              Thrive                        Thrive                       Thrive                      Thrive
                                                $39                           $15 $30 50% OFF              $18                         $28
       $100 to $200
                                                                                                            Free shipping

       $200 and up


      Min             Max              Apply




   Condition

       Any

       New                                      Thrive Skin Infinite Hand …   thrive causmetics New        NIB Overnight Sensation …   Thrive Skin complete thr…
                                                Thrive                        Thrive                       Thrive                      Thrive
       Like new                                 $28 $37 24% OFF               $45                          $50                         $135 $140 3% OFF
                                                                                                            Free shipping
       Good

       Fair

       Poor




   Status

       Any
                                                Thrive causmetics serum       Overnight Sensation Brig…    Cosmo Power Dimension…      Cosmo Power Dimension…
                                                Thrive                        Thrive                       Thrive                      Thrive
       For sale
                                                $52 $55 5% OFF                $46 $52 11% OFF              $30                         $30
       Sold                                                                    Free shipping                Free shipping                 Free shipping



   Colors




                                                Cosmo Power Dimension…        Thrive Overnight Sensati…
                                                Thrive                        Thrive
   More related searches                        $30                           $11 $16 31% OFF

   Thrive Skin Care in San Francisco             Free shipping




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https://www.mercari.com/us/brand/6377/92/                                                                                                                          2/8
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https://www.mercari.com/us/brand/6377/92/                                                                                                                                                           8/8
